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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                                                CIVIL ACTION

VERSUS                                                                     No. 12-859

MARLIN GUSMAN, ET AL.                                                    SECTION I

                                      ORDER

       Considering the plaintiff class’s unopposed motion1 for additional time to

respond in opposition and to continue the submission date for the City of New

Orleans’s (“City”) motion2 to stay, which is currently set for March 10, 2021,

      IT IS ORDERED that the motion is GRANTED. The submission date for the

City’s motion to stay is CONTINUED to WEDNESDAY, APRIL 7, 2021, and

memoranda opposing the City’s motion may be timely filed in reference to the new

submission date.3

      New Orleans, Louisiana, February 23, 2021.



                                                  LANCE M. AFRICK
                                           UNITED STATES DISTRICT JUDGE




1 R. Doc. No. 1412. As of February 23, 2021, the date on which the plaintiffs’ motion
was filed, the City had purportedly not responded to the plaintiffs’ inquiry as to
whether the City opposed their motion. Id. at 1.
2 R. Doc. No. 1410.
3 See L.R. 7.5.
